




Filed 12/5/16 by Clerk of Supreme Court

IN THE SUPREME COURT

STATE OF NORTH DAKOTA







2016 ND 227







State of North Dakota, 		Plaintiff and Appellee



v.



Marcus Benjamin Peltier, 		Defendant and Appellant







No. 20160148







Appeal from the District Court of Burleigh County, South Central Judicial District, the Honorable Cynthia Feland, Judge.



AFFIRMED.



Per Curiam.



Thomas J. Glass, 418 E. Rosser Ave., Ste. 102, Bismarck, ND 58501, plaintiff and appellee; submitted on brief.



Ryan A. Keefe, Burleigh County Courthouse, 514 E. Thayer Ave., Bismarck, &nbsp;ND 58501; submitted on brief.

State v. Peltier

No. 20160148



Per Curiam.

[¶1]	Marcus Peltier appeals a criminal judgment after a jury trial. &nbsp;He argues the district court abused its discretion by denying his motion for a mistrial. &nbsp;Peltier claims the State engaged in prosecutorial misconduct by using the word “felony” in its closing arguments. &nbsp;The State argues it was not prejudicial to use the word “felony” in its closing arguments, because Peltier was charged with preventing arrest or discharge of other duties, and “felony” is an element of that crime. &nbsp;We summarily affirm under N.D.R.App.P. 35.1(a)(4), concluding the district court did not abuse its discretion in denying Peltier’s motion for a mistrial.

[¶2]	Gerald W. VandeWalle, C.J.

Lisa Fair McEvers

Daniel J. Crothers

Dale V. Sandstrom

Carol Ronning Kapsner


